603 F.2d 858
    Streetv.Ford Motor Credit Co.*
    No. 78-3680
    United States Court of Appeals, Fifth Circuit
    9/17/79
    
      1
      M.D.Ga.
    
    
      2
      REVERSED AND REMANDED***
    
    
      3
      The Fifth Circuit by rule sets forth criteria for publication, provides for affirmance without opinion in certain circumstances, and directs that if an unpublished opinion is cited, a copy shall be attached to each copy of the brief.  Fifth Circuit Rules, Rule 47.5, 28 U.S.C.A.)
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    